            Case 1:21-cr-00159-ABJ Document 22 Filed 03/19/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :
                                             :
CLEVELAND GROVER                             :      Criminal No. 1:21-CR-159-ABJ
MEREDITH, JR.                                :
                                             :
                                             :
                       Defendant.            :

     UNITED STATES OF AMERICA’S MOTION TO FILE UNDER SEAL
GOVERNMENT’S RESPONSE TO DEFENSE MOTION TO REVOKE MAGISTRATE
   JUDGE’S ORDER OF DETENTION PENDING TRIAL AND TO SET NEW
                    CONDITIONS OF RELEASE

       The United States of America hereby moves this Court for an order granting the

Government permission to file under seal its response and all associated exhibits to the Defense’s

Motion to Revoke Magistrate Judge’s Order of Detention Pending Trial and to Set New Conditions

of Release (ECF 19).



                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney
                                             DC Bar No. 415793


                                     By:     /s/ Anthony L. Franks
                                             ANTHONY L. FRANKS
                                             Missouri Bar No. 50217MO
                                             Assistant United States Attorney
                                             Detailee – Federal Major Crimes
                                             United States Attorney’s Office
                                             for the District of Columbia
                                             Telephone No . (314) 539-3995
                                             anthony.franks@usdoj.gov
         Case 1:21-cr-00159-ABJ Document 22 Filed 03/19/21 Page 2 of 2




                               CERTIFICATE OF SERVICE


       On this 19th day of March 2021, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.

                                               /s/ Anthony L. Franks
                                               ANTHONY L. FRANKS
                                               Missouri Bar No. 50217MO
                                                Assistant United States Attorney
                                               Detailee – Federal Major Crimes
                                               United States Attorney’s Office
                                               for the District of Columbia
                                               Telephone No. (314) 539-3995
                                                anthony.franks@usdoj.gov




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